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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MINNESOTA
RONALDO LIGONS,                                     File No. 15-CV-2210, PJS/BT
BARRY MICHAELSON,
JOHN ROE, and JANE ROE,
JOHN MILES AND JANE MILES,
JOHN STILES AND JANE STILES,
individually, and on behalf of those similarly situated,

       Plaintiffs,
v.                                                             FIRST AMENDED

MINNESOTA DEPARTMENT OF CORRECTIONS,                           COMPLAINT

THOMAS ROY,                                                    JURY DEMANDED
Minnesota Commissioner of Corrections,                         for all claims triable to
in his official capacity,                                      the jury;

DR. DAVID A. PAULSON, M.D.,                                    EQUITABLE RELIEF
in his individual and his official capacities for actions
under color of law as Medical Director,                        AND DECLARATORY
Minnesota Department of Corrections,
                                                               RELIEF DEMANDED

NANETTE LARSON,                                                FOR CLASS CLAIMS
in her individual and her official capacities
for actions under color of law as Health Services Director,    AND INDIVIDUAL
Minnesota Department of Corrections,
                                                               CLAIMS AMENABLE
Dr. D. QUIRAM, M.D.,
in his individual and his official capacities for              TO DECLARATORY
actions under color of law as Plaintiffs’ treating physician
at Minnesota Correctional Facility, Stillwater,                AND EQUITABLE

Dr. R. HANSON, M.D.,                                             RELIEF
in his individual and his official capacities
for actions under color of law as Plaintiffs’ treating physician
at Minnesota Correctional Facility, Stillwater,

JOHN and JANE DOES A - J,
in their respective individual and official capacities
for actions under color of law as staff of
Minnesota Correctional Facilities, Stillwater and Faribault,


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       and

CENTURION OF MINNESOTA, L.L.C.,

       Defendants,

INTRODUCTION

       Plaintiffs are inmates of the Minnesota Department of Corrections. The plaintiff

class representatives, RONALDO LIGONS and BARRY MICHAELSON, suffer from

the serious medical need, disability, and life-threatening viral disease known as hepatitis-C

(HCV for “hepatitis-C virus”). Prior to late 2013, HCV treatment consisted of Interferon

injections which lasted nearly a year with low levels of success and serious side effects. In

December 2013, FDA-designated HCV "breakthrough" drugs were approved to cure HCV

at a 95% rate, with one-pill-per-day for 12 weeks irrespective of the stage of the infection.

In January 2014, the American Association for the Study of Liver Disease and Association

for the Study of Infectious Disease (AALSD/ASID) adopted the “breakthrough” drug 12-

week daily-pill therapy protocol, with the 95% cure rate, as the hepatitis-C treatment

community standard-of-care, thus replacing the highly toxic and less effective 48-week

Interferon-based injection therapy in very short order.

       For non-medical reasons, Defendants refuse to provide the "breakthrough" drug

treatment based on the medical needs of the Plaintiffs, viz. the hepatitis-C treatment

community standard-of-care, which will cure Plaintiffs’ HCV infection in three months

from its inception.

       Since June 2014, the Federal Bureau of Prisons, the Center for Disease Control, the


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United States Public Health Service, the Food and Drug Administration, and the United

States Department of Veterans Affairs have all recognized the changed standard-of- care

within the hepatitis-C medical treatment community for HCV patients in their approval

and implementation of one-pill-per-day, 12-week protocols for the treatment of HCV

patients, as the up-to-date standard of care in the hepatitis-C treatment community.

        By December 2014, FDA approval of Harvoni and Viekera-Pak, two additional

"breakthrough" drugs, eliminated toxic Interferon entirely in 12-week oral treatments as the

current standard of care post-December 2014. The dangerous and serious side-effects

associated with the 48-week toxic Interferon-injection therapy have rapidly made toxic

Interferon medically obsolete among physicians specializing in treating HCV infections.

        The plaintiffs, individually and as a class, sue the Defendants in their respective,

specified individual and official capacities for their joint and several actions that constitute

deliberate indifference to their serious medical needs as Hepatitis C patients, in violation of

their clearly established Eighth and Fourteenth Amendment rights under the United States

Constitution, for which 42 U.S.C. § 1983 provides declaratory, equitable, and legal

remedies. Defendants have refused Plantiffs’ repeated requests to be treated with the up-

to-date medications that cure all stages of HCV infection, irrespective of viral load, and,

with minor variations, irrespective of genotype of HCV, for non-medical reasons of

administrative convenience or cost, which are not related to the individual medical needs of

Plaintiffs.

        The plaintiffs, individually and as a class, sue the Minnesota Department of

Corrections, a recipient of federal monies, Commissioner Tom Roy, Centurion of


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Minnesota, L.L.C., a recipient of federal monies, and other named Defendants in their

official capacities for acts constituting discrimination because of their disability of Hepatitis

C under Title II of the Americans with Disabilities Act as Amended and § 504 of the

Rehabilitation Act of 1973.

       The plaintiff class representatives have exhausted their administrative remedies

under governing national and state laws.

       The plaintiffs demand jury trial for all claims triable to the jury.

JURISDICTION AND VENUE

    1. Plaintiffs set forth claims under U.S. Const. amend. VIII and XIV, 42 U.S.C. §

        12131 et seq., and 29 U.S.C. § 791 et seq.

    2. 28 U.S.C. §§ 1331 (federal question) and 1343(a)(4) (federal civil rights question)

        confer subject matter jurisdiction on this court.

    3. Plaintiffs state claims that arise under Minnesota law.

    4. 28 U.S.C. § 1367 confers supplemental jurisdiction for all claims that arise under

        Minnesota law.

    5. The substantial number of events in this lawsuit took place in Washington and

        Ramsey Counties, state of Minnesota.

    6. Plaintiffs lay venue in this court per 28 U.S.C. § 1391.

PLAINTIFFS

    7. Plaintiff RONALDO LIGONS (LIGONS) has been an inmate of MN DOC and

        its correctional facilities since 1992.

    8. In 1998, Ligons was informed by Defendant MN DOC agents, employees, or


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   representatives that he was HCV-positive.

9. The source of was the unsanitary living conditions with the Minnesota Department

   of Corrections and medical treatment provided therein for his insulin dependent

   diabetes and other blood exposures.

10. The 48-week, toxic Interferon injection treatment MN DOC provided to Mr.

   Ligons failed in 2006.

11. Mr. Ligons is to be released from MN DOC custody in more than three months,

   viz., more than twelve weeks from the date of suit.

12. Mr. Ligons was an inmate of the Minnesota Correctional Facility at Stillwater (MCF

   Stillwater) until February 2015.

13. Mr. Ligons is a current inmate at the Minnesota Correctional Facility at Faribault

   (MCF Faribault).

14. As the direct result of the policy and practice of MN DOC and CENTURION OF

   MINNESOTA, L.L.C., and individual Defendants’ conduct, Mr. LIGONS has

   been denied the current standard-of-care one-pill per day, twelve week HCV

   treatment that cures HCV at a 95% rate, in deliberate indifference to his serious

   medical needs as a Hepatitis C sufferer, and because of his disability as a hepatitis

   C sufferer.

15. Mr. Ligons has been denied HCV curative medication because of non-medical

   MNDOC policies designed to ration medication to a limited number of inmates,

   for administrative convenience or money, without regard to Mr. Ligons individual

   medical needs and disabling case of HCV.


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16. Plaintiff BARRY MICHAELSON (Michaelson) is an inmate of the MN DOC at

   MCF Stillwater.

17. Defendant MN DOC agents, representatives, or employees informed Mr.

   Michaelson that he was HCV-negative in October 2009, when he entered MN

   DOC custody.

18. Mr. Michaelson tested HCV positive in 2010, only after being double-bunked with

   a bleeding, HCV-positive cellmate and his exposure to other sources of HCV in

   MN DOC facilities.

19. Mr. Michaelson is to be released in more than three (3) months, viz., more than

   twelve weeks, from the date of suit.

20. As the direct result of the policy and practice of MN DOC and CENTURION OF

   MINNESOTA, L.L.C., and individual Defendants’ conduct, Mr. LIGONS and

   Mr. MICHAELSON have been denied the current standard-of-care one-pill per

   day, twelve week HCV treatment that cures HCV at a 95% rate, in deliberate

   indifference to their serious medical needs as Hepatitis C sufferers, and because of

   their disabilities as hepatitis C sufferers.

21. Mr. Michaelson has been denied HCV curative medication because of non-

   medical MNDOC policies designed to ration medication to a limited number of

   inmates for administrative convenience or money, without regard to Mr.

   Michaelson’s individual medical needs and disabling case of HCV.

22. In the cases of Mr. Ligons and Mr. Michaelson, HCV is a disability and disease of

   the digestive and circulatory systems that substantially and materially impairs their


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   respective major life activities of (a) self-caring, (b) social interaction with other

   persons, (c) manual tasks particularly those involving knives, scissors, pins, needles,

   toothbrushes, eating utensils, or shaving razors, (d) reproduction, and (e) life itself.

23. Each day that MN DOC delays treatment of Mr. Ligons’ and Mr. Michaelson’s

   cases of HCV, the likelihood of cirrhosis of the liver, liver cancer, a liver transplant,

   and death from HCV grow for each of them, as well as each member of the Class,

   as does the likelihood of infection for those with whom they come in contact in

   MN DOC facilities and, after their respective release, with whom they make

   contact in the general public.

24. The Plaintiffs' liver, digestive system, and circulatory systems continue to

   deteriorate, as do those of other members of the named class, the subclass of

   plaintiffs with known cases of HCV that are not treated, and the subclass of

   plaintiffs with unknown and untreated cases of HCV.

25. Mr. Ligons and Mr. Michaelson have demanded HCV treatment in accordance

   with the one-pill a day, twelve week treatment protocol for Sovaldi that the FDA,

   U.S. Public Health Service, and Center for Disease Control have approved, and

   which the Federal Bureau of Prisons (FBOP) has approved for administration to

   HCV-positive federal inmates.

26. The Defendants jointly and severally have denied treatment to plaintiffs Ligons and

   Michaelson because of the Defendants’ respective polic(y/ies) and acts designed to

   limit or ration anti-HCV medication for non-medical reasons of administrative

   convenience or cost, unrelated to the individual medical needs of Plaintiffs, or the


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   medical benefits they would derive from being cured of HCV.

27. Plaintiffs Ligons, Michaelson and those similarly situated, are that portion of the

   approximately 9,000 inmates at the nine Minnesota Department of Correction

   (MnDOC or MN DOC) facilities who have tested positive, or will test positive, for

   HCV (15% would be 1350 inmates).

28. Plaintiffs Ligons and Michaelson have requested the up-to-date 12-week HCV

   treatment which the FDA has approved since December 2013 and confirmed since

   December 2014.

29. The Federal Bureau of Prisons (FBOP) adopted the FDA-approved 12-week HCV

   treatment no later than June 2014.

30. Plaintiffs Ligons and Michaelson reported their respective requests for the FDA-

   approved 12 week treatment to MN DOC Medical Director David Paulson, M.D.,

   and MN DOC Health Services Director Nanette Larson.

31. Medical Director Dr. Paulson and Health Services Director Larson, jointly and

   severally, individually and officially, have denied Ligons’ and Michaelson’s

   respective requests for the FDA-approved 12 week treatment.

32. Plaintiffs Ligons and Michaels have exhausted their respective administrative

   remedies under governing federal and state law.

33. Plaintiffs JOHN ROE and JANE ROE are the estimated 50-80% of male and

   female inmates of MN DOC institutions who have not been screened for HCV, as

   they were for HIV, and do not know their HCV status.

34. Plaintiffs JOHN MILES AND JANE MILES are the respective male and female


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   inmates of MN DOC institutions who have tested positive for HCV, and have not

   received treatment for HCV, in compliance with the professional standard of

   medical care for HCV-positive individuals that the FDA, FBOP, CDC, U.S. Public

   Health Service, and U.S. Department of Veterans Affairs approved since

   December 2013.

35. Plaintiffs JOHN STILES AND JANE STILES are the respective male and female

   inmates of MN DOC institutions who are HCV-positive, do not know that they are

   HCV-positive, and have not received treatment for HCV, in compliance with the

   professional standard of medical care for HCV-positive individuals that the FDA,

   FBOP, CDC, U.S. Public Health Service, and U.S. Department of Veterans

   Affairs approved since December 2013.

36. All Plaintiffs are daily exposed to HCV infection, or re-infection while incarcerated,

   due to the deliberate indifference of Defendants who have not adopted the safer,

   more effective treatment protocols for HCV treatment adopted by the CDC, U.S.

   Public Health Service, and Federal BOP to prevent infection and re-infection of

   inmates.

37. Plaintiffs Ligons and Michaelson reported the FBOP adoption of the FDA-

   approved 12 week protocol to Dr. Paulson.

38. Dr. Paulson denied Messrs. Ligons’ and Michaelson’s respective requests.

39. Defendants’ knowing refusal to make available the safer and more effective cure for

   Plaintiffs' HCV infection, and continuing a policy of refusing to make the 12-week

   treatment and cure available for non-medical reasons of administrative convenience


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     and cost, are prolonging the harm HCV is causing to named Plaintiffs' bodies and

     life expectancies, and those of other MN DOC inmate class member and other

     MN DOC inmate subclass members, and demonstrate deliberate indifference to

     the plaintiffs’ respective serious medical needs.

DEFENDANTS

  40. Defendant MINNESOTA DEPARTMENT OF CORRECTIONS (MN DOC,

     MnDoc, MnDOC) is an agency of the state of Minnesota.

  41. Defendant MN DOC has its principal place of business and headquarters in the

     city of St. Paul, Ramsey County, state of Minnesota.

  42. Defendant MN DOC is a recipient of federal funds.

  43. Plaintiffs sue Defendant MN DOC for creation and implementation of policies

     that (a) have directly inflicted harm and demonstrated deliberate indifference to the

     disability, disease, and serious medical needs of plaintiffs, in defiance of the

     Plaintiffs’ clearly established rights under U.S. Const. amend. VIII and XIV

     through 42 U.S.C. § 1983, (b) discriminated against Plaintiffs on the basis of their

     disability in defiance of Title II of the Americans with Disabilities Act as Amended

     at 42 U.S.C. § 12131 et seq., § 504 of the Rehabilitation Act of 1973 at 29 U.S.C. §

     791 et seq., and (c) have directly inflicted harm and demonstrated deliberate

     indifference to the disability, disease, and serious medical needs of plaintiffs, in

     defiance of the Plaintiffs’ clearly established rights under Minn. Const. Art. I, §§ 2,

     5, 7, and 16, for which Minn. Const. Art. I, § 8 provides a remedy.


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44. Defendant THOMAS ROY, an adult individual, (Roy, Commissioner Roy,

   Commissioner) is the Commissioner of Corrections of the              MINNESOTA

   DEPARTMENT OF CORRECTIONS (MN DOC), whom Minnesota Governor

   Mark Dayton appointed as Commissioner of Corrections.

45. COMMISSIONER ROY is responsible for policy, administration and supervision

   of staff within MN DOC during all times relevant to this action.

46. Plaintiffs sue COMMISSIONER ROY in his official capacity.

47. Defendant DAVID A. PAULSON, M.D. is an adult individual and the Medical

   Director of MN DOC, with his office in the Central Office of MN DOC.

48. Dr. Paulson is responsible for medical services within the MN DOC system.

49. On information and belief after reasonable inquiry by the plaintiffs, Dr. Paulson is

   responsible for the establishment of medical policy that governs the medical

   treatment of all inmates of MN DOC, including the Plaintiffs.

50. Dr. Paulson has authored The Facts about HCV, published by the Hazelden

   Foundation in 2002 with a second edition in 2008 in which Dr. Paulson held

   himself out as an HCV expert and treating physician in the Minnesota Department

   of Human Services.

51. Plaintiffs sue Defendant David Paulson in his respective individual and official

   capacities for actions taken under color of law as Medical Director, MN DOC.

52. Defendant NANETTE LARSON is an adult individual and the Director of Health


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   Services in the Central Office of MN DOC.

53. Grievances arising from the denial of medical care, and the denial of Plaintiffs’

   requested medical care, by MN DOC staff that are appealed to the Central Office

   are reviewed and ruled upon by NANETTE LARSON in accordance with

   governing federal law, state law, and applicable MN DOC regulations having the

   force of law.

54. On information and belief after reasonable inquiry by the plaintiffs, grievances

   arising from the denial of medical care, and the denial of Plaintiffs’ requested

   medical care, by MN DOC staff that are appealed to the Central Office are

   reviewed and ruled upon by NANETTE LARSON, after consultation with

   Defendant PAULSON.

55. Plaintiffs sue Defendant LARSON in her individual and official capacities for her

   actions taken under color of law as Director of Health Services, MN DOC.

56. DR. D. QUIRAM, M.D., and DR. R. HANSON, M.D., adult individuals, are

   treating physicians of Plaintiffs.

57. DR. QUIRAM and DR. HANSON provide medical services to Plaintiffs, pursuant

   to contract with MN DOC.

58. DR. QUIRAM and DR. HANSON have the obligation to provide independent,

   individualized, safe, effective medical care to each Plaintiff, consistent with current

   community standards of professional medical care.



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59. Plaintiffs sue DR. QUIRAM and DR. HANSON in individual and official

   capacities for action taken under color of law as Plaintiffs’ treating physicians under

   contract to MN DOC through Defendant CENTURION OF MINNESOTA,

   L.L.C., for their deliberately indifferent failure to treat Plaintiffs’ disability, disease,

   and serious medical needs of hepatitis C in compliance with current standards of

   individualized professional medical care.

60. Defendants JOHN and JANE DOES A – J, adult individuals, are male and female

   doctors, nurses, case managers, correctional officers, supervisors, and MN DOC

   employees, agents, or representatives, whose work places are MCF Stillwater or

   MCF Faribault, charged with responding to requests for medical care for hepatitis

   C from named Plaintiffs, or responding to requests for medical care for hepatitis C

   from now-unknown inmates of the MN DOC.

61. Plaintiffs sue DEFENDANTS JOHN AND JANE DOE A – J in their respective

   individual and official capacities for actions taken under color of law for their

   deliberately indifferent failure to treat Plaintiffs’ disability, disease, and serious

   medical needs of hepatitis C in compliance with current standards of individualized

   professional medical care.

62. Defendant CENTURION OF MINNESOTA, L.L.C. (CENTURION), is a for-

   profit limited liability company with its principal business and headquarters in

   Minnesota, doing business in Minnesota.

63. Defendant    CENTURION           OF     MINNESOTA,           L.L.C.    (CENTURION),


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   previously misnamed CENTENE CORPORATION, is a recipient of federal

   funds.

64. Defendant CENTURION contracted with MN DOC to provide medical treatment

   services to MN DOC inmates for sixty-seven million dollars ($67,000,000),

   beginning on 1 January 2014.

65. Plaintiffs sue Defendant CENTURION for creation and implementation of

   policies, pursuant to contract with MN DOC, that have directly inflicted harm and

   demonstrated deliberate indifference to the disability, disease, and serious medical

   needs of plaintiffs, in defiance of U.S. Const. amend. VIII and XIV through 42

   U.S.C. § 1983, Title II of the Americans with Disabilities Act as Amended at 42

   U.S.C. § 12131 et seq., and § 504 of the Rehabilitation Act of 1973 at 29 U.S.C. §

   791 et seq.

66. Plaintiffs sue the Defendants in their respective, specified capacities, for actions

   under color of law at all times relevant to this lawsuit, for their joint and several

   actions, policy creations, and policy implementations that manifest deliberate

   indifference to the Plaintiffs’ serious medical needs of hepatitis C, in violation of

   Plaintiffs’ rights under U.S. Const. amend. VIII and XIV through 42 U.S.C. §

   1983 and Minn. Const. Art. I, §§ 2, 5, 7, and 8, and discriminate against Plaintiffs

   on account of their disabilities in violation of Title II of the Americans with

   Disabilities Act as Amended, 42 U.S.C. § 12131 et seq., § 504 of the Rehabilitation

   Act of 1973, 29 U.S.C. § 791 et seq.


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  67. Because of the "silent epidemic" of HCV-positive inmates entering the MNDOC

     system, and the high-costs of treating HVC infections, the Defendants MNDOC

     and Centurion have instituted a policy of rationing anti-HCV medication to as few

     inmates as possible, for reasons of administrative convenience and cost, unrelated

     to the medical needs of individual inmates, who are the Plaintiffs.

FACTS

    A. HEPATITIS C VIRUS (HCV) DEFINED

  68. HCV was not discovered until 1989. Blood screening was not possible until the

     mid-1990's. According to the CDC, everyone born between 1945 and 1965 is at

     risk and should undergo testing for hepatitis C.

  69. The Centers for Disease Control (CDC) estimate the potentially fatal blood-borne

     Hepatitis-C Virus (HCV) infects some 4 million Americans of all ages and walks of

     life (about 2% of the population) and causes more deaths than HIV/AIDS.

  70. Between 20 - 50% of America’s 2.3 million inmates are HCV-positive. According

     to the CDC, therefore most prisoners and 98% of the general population are at risk

     from unscreened, untreated inmates.

  71. Eliminating HCV from corrections facilities filters HCV from the entire nation’s

     blood pool.

  72. HCV is a chronic, potentially fatal blood-borne viral disease that substantially and

     materially degrades the liver’s ability to purify blood and to convert substances in



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   the blood to glucose, inflicting progressive damage on the liver, which substantially

   and materially impairs the body’s digestive and circulatory systems each day.

73. HCV can be spread by mere contact with an infected individual’s blood, under

   such circumstances as: (a) physical activity in sports, (b) tattooing, (c) use of a

   needle not properly cleaned and sterilized, (d) exposure to an infected person’s

   blood in the course of medical care, (e) barber and cosmetology care, (f) sexual

   activity, (g) sharing of eating utensils and food, (h) sharing razors or other personal

   grooming supplies, (i) sharing bathrooms or shower facilities, (j) sharing living

   quarters, or (k) physical violence between inmates or involving staff.

74. If left untreated, even asymptomatic HCV causes cirrhosis, or destructive scarring

   of the liver, liver cancer, and may require a liver transplant, and eventually cause

   other symptoms to those it afflicts. As a communicable disease, HCV poses an

   unreasonable and substantial risk of serious present and future medical and

   physical harm to the Plaintiffs, and the general public after Plaintiffs’ release from

   prison. Roe v. Elyea, 631 F.3d 843 (7th Cir. 2011).

75. HCV substantially and materially impairs the individual’s, and these plaintiffs’,

   major life activities of (a) self-caring, (b) social interaction with other persons, (c)

   manual tasks particularly those involving knives, scissors, pins, needles,

   toothbrushes, eating utensils, or shaving razors, (d) reproduction, and (e) life itself.

76. Each day treatment is postponed, the likelihoods of: cirrhosis of the liver, liver

   cancer, a liver transplant, and death from HCV grow for each member of the Class,


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      as does the likelihood of infection for those with whom they come in contact in

      MN DOC facilities and for members of the general public after they are released

      into the general population outside prison.

  B. BACKGROUND – CENTERS FOR DISEASE CONTROL, FDA, FBOP,
  U.S. PUBLIC HEALTH SERVICE, SURGEON GENERAL, AND THE V.A.

77. Eradicating HCV from the whole population became possible in December 2013

      because of the approval of the first FDA “breakthrough” drugs.

78. In December 2013, the United States Food and Drug Administration (FDA)

      approved a new class of safer, direct-acting, anti-viral drugs that cure HCV

      infections in 12-weeks of daily pill therapy at a 95% success rate.

79. In January 2014, the Infectious Disease Society of America (IDSA) and the

      American Association for the Study of Liver Disease (AASLD) issued guidelines

      recommending sofosbuvir (Sovaldi) and similar new drugs as first-line therapy to

      replace year-long Interferon-based injections entirely. See, www.hcvguidelines.org.

  In June 2014 the Federal Bureau of Prisons (FBOP) issued "Clinical Practice

  Guidelines" (Guidelines, or Protocol) for HCV treatment of inmates. The FBOP

  specifically rejected the more dangerous, less effective 48-week toxic Interferon-

  based injection treatment regimen.

80.

81. The protocol specifically lists the ASSLD/IDSA sofosbuvir twelve week, one pill

      per day regimen as the safer, more effective, standard-of-care in all FBOP facilities.



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82. Other agencies of the United States, including the Centers for Disease Control

   (CDC), the United States Department of Veterans Affairs (VA), and the Surgeon

   General of the United States Public Health Service (Surgeon General) adopted the

   one pill per day, twelve-week protocol as the standard of care for treatment of

   HCV, and specifically rejected the forty-eight week toxic Interferon injection

   regimen, as has: the CDC, the Veterans Administration (VA), and the Surgeon

   General of the US. Public Health Service.            Private insurers that include

   UnitedHealth, Anthem, and Aetna cover the non-interferon anti-viral oral pill

   treatments.

83. As set forth in the FBOP June 14, 2014 Clinical Practice Guidelines for HCV, the

   above protocols’ only medical criteria are that the patient; (a) not be pregnant; (b)

   have sufficient time in custody to complete treatment; and, (c) "demonstrate

   willingness and ability to adhere to rigorous treatment and to abstain from high risk

   activities."

84. According to the AALSD/IDSA, FBOP, CDC, and VA protocols, chemical

   dependency treatment, however, is not a medically required precondition for the

   twelve week HCV treatment.

85. Similarly, sharing of contaminated needles is a known vector for transmission of

   the human immunodeficiency virus (HIV).

86. Nonetheless, upon information and belief, chemical dependency treatment is

   NOT a precondition for HIV/AIDS anti-viral therapies in MN DOC facilities.



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87. The AALSD/IDSA, FBOP, CDC, and VA HIV/AIDS treatment protocols

   require treatment upon a positive test for HIV, without waiting for the onset of

   HIV-related illnesses, including Kaposi’s sarcoma or pneumonia.

88. Similarly, the AALSD/IDSA, FBOP, CDC, and VA HCV protocols do not

   prescribe delay in HCV treatment until the onset of fibrosis, cirrhosis of the liver,

   or liver cancer for medical reasons.

89. Since the adoption of the 12-week, one-pill-a-day HCV standard of care by

   agencies of the United States, barriers that the Defendants, jointly and severally,

   have erected in fact and as a matter of policy, to screening and treatment of HCV

   that differ significantly from HIV/AIDS lack medical justification, and do not

   survive scrutiny on rational basis grounds.

90. Defendants must assume the constitutional obligations under U.S. Const. amend.

   VIII and XIV and Minn. Const. Art. I, §§ 2, 5, 7, and 8, and the statutory

   obligation under U.S. Const. Art. VI, cl. 2, 42 U.S.C. § 12131 et seq., and 29

   U.S.C. § 791 et seq., to provide the safer, more effective, non-interferon-based

   medical care for HCV that evolving science and FBOP, FDA, and Surgeon

   General protocols have made the new professional medical community standard of

   care, to eradicate HCV infection from the MN DOC population.

91. In so doing, the Defendants reduce and then eliminate the likelihood of HCV

   reinfection of Plaintiffs, and increase the likelihood of reduction and ultimate

   eradication of HCV amongst the general public population as a result.


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  C. HCV AS A SERIOUS MEDICAL NEED, IN WHICH ASSERTED
  FAILURE OR DELAY IN TREATMENT STATES CLAIMS FOR
  DELIBERATE INDIFFERENCE TO PRISONERS’ MEDICAL NEEDS
  UNDER THE EIGHTH AND FOURTEENTH AMENDMENTS

92. Erickson v. Pardus, 551 U.S. 89, 90, 127 S. Ct. 2197 (2007), holds that conscious

   delay, conscious denial of access, or conscious interference in medical treatment of

   hepatitis C for non-medical reasons -- standing alone -- states a plausible claim for

   deliberate indifference against prison doctors, prison guards, or prison officials to

   the serious medical needs of a prisoner in violation of U.S. Const. amend. VIII

   and XIV through 42 U.S.C. § 1983.

93. Minnesota Department of Health Regulations 4605.7030 and 4605.7040 subp.

   B(22) require that all physicians, healthcare facilities, medical laboratories, and

   every licensed healthcare provider shall submit clinical materials associated with

   HCV positive cases to the Commissioner of Health within one working day of

   diagnosis.

94. Said Minnesota regulations impose a duty to obtain knowledge, and to transmit

   said knowledge to the Minnesota Department of Health, of all HCV cases within

   the care and responsibility of all medical care providers, including medical care

   providers employed by, or contracted by, the Minnesota Department of

   Corrections.

95. In accordance with Minn. Stat. § 241.01 subd. 3(a)(1), Defendant MN DOC has

   adopted "Blood borne Pathogen Policy" §105.170 et seq. with updates §105.170


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   FRB, 5/6/14, and §151.171, 9/2/14, which purport to adopt up-to-date U.S. Public

   Health Service (USPHS) and CDC treatment protocols for disabling, blood borne

   pathogens, including HCV.

96. At all times relevant to this lawsuit, Defendant MN DOC, its agents, employees,

   representatives, or contractors including CENTURION, provide free, routine

   screening for HIV/AIDS within 14 days of prisoners’ intake, or in response to a

   “kite” written request to a facility health service, with treatment available at all MN

   DOC facilities, without the precondition of chemical dependency treatment.

97. In contrast, at all times relevant to this lawsuit, Defendant MN DOC, its agents,

   employees, representatives, or contractors including CENTURION, provide NO

   routine screening for HCV during or after intake to identify sources of infection, or

   to protect inmates from sources of infection, despite the duties to know and

   transmit that the above regulations impose.

98. Upon information and belief, Defendants Medical Director Dr. Paulson, Director

   of Health Services Larson, Drs. Quiram, Hanson and other Defendants had actual

   knowledge, through personal mail from Plaintiff Ligons, professional journals,

   professional meetings in January 2014, FBOP publications and general media, of

   the new medications for HCV that are safer and more effective than MN DOC

   HCV treatment protocols.

99. Despite Defendants' knowledge of the new safer and more effective standard-of-

   care, the Defendants, jointly and severally, have not provided the current 12-week

   week one pill per day professional HCV-treatment community medical standard of


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   care described in the June 2014 FBOP Clinical Treatment Guidelines, and other

   peer-reviewed sources, to meet the individual needs of the Plaintiffs, and to screen

   and cure prisoners infected with the HCV virus for reasons unrelated to medical

   care.

100.       At all times relevant to this lawsuit, Defendant MN DOC, its agents,

   employees, representatives, or contractors including CENTURION, jointly and

   severally, have willfully denied, or, with manifest deliberate indifference to the

   serious medical needs of the plaintiffs, denied the current medical professional

   HCV-treatment community standard of individualized medical care to plaintiffs

   and similarly situated HCV positive inmates, specifically, the daily oral twelve week

   treatment protocols, for non-medical reasons.

101.       At all times relevant to this lawsuit, Defendant MN DOC, its agents,

   employees, representatives, or contractors including CENTURION, jointly and

   severally, have willfully delayed, denied, or interfered with plaintiffs’ timely HCV

   treatment by requiring chemical dependency treatment as a medically unnecessary

   precondition for HCV treatment.

102.       At all times relevant to this lawsuit, Defendant MN DOC, its agents,

   employees, representatives, or contractors including CENTURION, have

   intentionally delayed, denied, or interfered with plaintiffs’ timely HCV treatment by

   withholding HCV treatment until plaintiffs manifest symptoms of fibrosis, cirrhosis

   of the liver, or liver cancer, for non-medical reasons.

103.       The only HCV treatment available in the MN DOC--CENTURION system


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   consists of the forty-eight week course of daily toxic Interferon-based injections and

   monitoring of blood viral load in a clinical setting.        The FBOP rejected this

   treatment in June 2014 as falling below the professional hepatitis-C medical

   treatment community standard of individualized care of inmates, specifically, the

   twelve week, one oral pill per day medication protocol available since December

   2013 of Olysio, Sovaldi, and successor medicines that include Harvoni and Viekira

   Pak.

104.      As described in written policy and in response to written requests from

   Plaintiffs, at all times relevant to this lawsuit, of the nine (9) facilities that MN DOC

   operates, Defendants MN DOC, ROY, CENTURION, LARSON, AND

   PAULSON, jointly and severally, offer forty-eight week, toxic Interferon-based

   HCV treatment only at specific facilities, and thus exclude inmates at all other

   facilities from receiving any HCV treatment at all.

105.      Particularly in light of the efficacy of the FDA-"HVC breakthrough" drugs in

   curing all levels of HCV viral infections all HCV genotypes (with minor variances),

   and the relative simplicity of the treatment protocols associated with the 12-week

   oral medication, policies limiting treatment based on viral load, or relative progress

   of liver dysfunction, are matters of administrative convenience or cost saving, not

   the medical requirements of the patient.

106.      For non-medical reasons of policy and practice, MN DOC and

   CENTURION, jointly and severally, at all times relevant to this lawsuit, have

   systematically denied, and continue to deny systematically, MN DOC inmates’


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   requests for the FDA-approved, one pill per day, twelve week treatment protocol of

   Olysio, Sovaldi, which the FBOP as of June 2014, the FDA, the CDC, the U.S.

   Public Health Service Surgeon General, and the VA have adopted as the safest,

   most effective professional HCV-treatment medical community standard of care

   for the treatment and cure of HCV virus infections at a 95% cure rate – a protocol

   to which Harvoni and Viekira Pak were added in late 2014.

107.      As a direct result of the Defendants’ joint and several policies, practices, and

   actions that lack medical foundation or rational basis, and which substitute

   administrative convenience, caprice, and whim for individualized professional

   medical care and judgment for the Plaintiffs, each day the Defendants deny to

   Plaintiffs the FBOP Sovaldi/Harvoni equivalent of the non-Interferon twelve week,

   daily pill protocol to cure HCV, Defendants needlessly force Plaintiffs to suffer the

   progressive effects of the chronic, life-threatening disease of hepatitis C.

108.     The Defendants’ joint and several willful, deliberate actions make

   progression of plaintiffs’ cases of HCV foreseeable, and increased public expense

   inevitable.

109.     The Defendants’ joint and several willful, deliberate actions make increased

   public expense to treat Plaintiffs’ cases of HCV foreseeable and inevitable.

110.     The Defendants’ joint and several willful, deliberate actions increase without

   medical reason or lawful purpose the likelihood of the Plaintiffs’ deaths for reasons

   arising from HCV infection.

111.     Day by day, uninfected inmates, and the public at large, run increasing risks


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   of HCV infection which Defendants could “cure;” to these inmates’ serious,

   medical needs of freedom from, and knowledge of, infection by HCV, the

   Defendants, jointly and severally, are deliberately indifferent, for reasons of non-

   medical policy and practice.

  D. CLASS ALLEGATIONS

112.       Plaintiffs brings this action on behalf of themselves, and others similarly

   situated, (the "Class") pursuant to Fed. R. Civ. P. 23(a) and 23(b)(2).

113.       Plaintiffs seeks to represent the following Class and sub-classes on claims for

   declaratory and injunctive relief and damages:

  (a) All persons (male and female) incarcerated in Minnesota Department of

       Corrections facilities with 12 weeks remaining on their sentence; who test HCV-

       positive and wish to participate in the 12-week oral-medication HCV treatment,

       equivalent to Federal Bureau of Prison Clinical Treatment Guidelines.

  (b) All persons as in (a) who tested HCV positive before entering MN DOC

       facilities.

  (c) All persons as in (a) who were not HCV-positive before entering facilities and

       became infected while housed in Mn DOC facilities.

  (d) All persons as in (a) in various stages of HCV infection who are not being treated

       at all because of the Chemical Dependency Treatment requirement, that is not

       required by the FBOP, CDC, AASLD/ASID, VA or other medical treatment

       guidelines.



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  (e) All persons as in (a) in various stages of HCV infection who are not being treated

       because of other limitations on access to medication unrelated to patient care,

       that are not required by the FBOP, CDC, AASLD/ASID, VA or other medical

       treatment guidelines.

  (f) All persons as in (a) in various stages of HCV infection who are not being treated

       because they have refused toxic Interferon-based treatment, offered by MN

       DOC in contravention of current FBOP, CDC, AASLD/ASID, VA or other

       medical treatment guidelines.

  (g) All persons as in (a) who are HCV-positive but have not been screened by MN

       DOC so have been unaware of the HCV-status and cannot request the 12-week

       oral medication.

  (h) All persons as in (a) who are not aware of their HCV status, who are fearful of

       being exposed to HCV because of MN DOC policies and practices that make it

       impossible to know if any other inmates with whom they come in contact are

       HCV-positive, or not.

114.      Plaintiff seeks to represent the following Class on claims for declaratory and

   injunctive relief from state-created danger of HCV infection: All persons (male and

   female) incarcerated in Minnesota Department of Corrections facilities as of

   January 1, 2014 who have been, are, and will be, exposed to risk of harm daily by

   the deliberate indifference of Defendants' failure to adopt the 12-week Federal

   Bureau of Prison Clinical HCV Treatment Guidelines – and successor non-

   Interferon therapies -- who were not HCV positive upon entering MN DOC


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   facilities, or do not know their HCV status and wish to be screened and treated, if

   testing positive.

115.       As a result of Defendants’ joint and several deliberate indifference to the

   serious medical needs of the Class, the members of the Class are or will be

   subjected to cruel and unusual punishment and deprived of other constitutional

   and statutory rights, and will face ongoing, threatened, and imminent physical

   harm.

116.       Plaintiffs seek declaratory and injunctive relief to enjoin Defendants’ actions,

   policies and practices that infringe on their rights.

117.       The requirements of Rules 23(a) and 23 (b) are met by this action.

  (a) Numerosity under Fed. R. Civ. P. 23(a)(1): The precise number of inmates in

       the Class and their identity are within the control of Defendants. The names

       and locations of inmates testing positive for HCV and whether all inmates have

       even been screened for HCV are data controlled by Defendants. National

       averages predict the number would exceed 1,500, a size much too large to make

       joinder practicable.

  (b) Commonality under Fed. R. Civ. P. 23(a)(2): Questions of law and fact are

       common to the Class, including but not limited to: (1) the nature and scope of

       the safer, more effective standard of care, exemplified by the Federal BOP

       Clinical Treatment Guidelines; (2)) The MN DOC policy for the treatment of

       HCV with toxic Interferon that is now outmoded for all patients, as less safe and

       less effective; (3) Whether the MN DOC use of an outmoded medical treatment


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    that is less safe and effective than the current standard of care violates the Eight

    Amendment; (4) Whether the MN DOC use of an outmoded medical

    treatment that is less safe and effective than the current standard of care violates

    Article II of the ADA as Amended; and (5) Whether the MN DOC use of an

    outmoded medical treatment that is less safe and effective than the current

    standard of care violates Section 504 of the Rehabilitation Act.

 (c) Typicality - Fed. R. Civ. P. 23(a)(3): Plaintiff's claims are typical of the Class

    members because Plaintiff and all Class Members were injured by the same

    wrongful policy and practices of Defendants as described in this Complaint.

    Plaintiff's claims arise from the same practices and course of conduct that give

    rise to the claims of the Class Members and are based on the same legal

    theories.

 (d) Representativeness - Fed. R. Civ. P. 23(a)(4): (1) Plaintiffs will fairly and

    adequately protect the interests of the Class. (2) Plaintiffs have no interests that

    are contrary to or in conflict with those of the Class they seek to represent. (3)

    Plaintiffs are represented by competent and skilled counsel whose interests are

    aligned with the interests of the Class. (4) Relief concerning Plaintiff's rights

    under the laws herein alleged and with respect to the Class would be proper. (5)

    Defendants have acted or refused to act with respect to the Class, thereby

    making appropriate final injunctive relief or corresponding injunctive relief with

    regard to Class Members as a whole and certification of the Class under Rule

    23(b)(2) proper.


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  (e) SUPERIORITY - Fed. R. Civ. P. 23(b)(3): (1) A class action is superior to other

       available methods for the fair and efficient adjudication of this litigation since

       joinder of all members of the class is impracticable. (2) The number would

       prove unduly burdensome and inefficient for the Court and parties. (3) Because

       a common set of facts, grievances and remedies predominate over individual

       issues, individual litigation increases expenses to all parties, and better

       management of consistent adjudication and relief by a single court is in the

       interest of all parties. (4) Conduct of this action as a class action will protect the

       rights of all class members and promote judicial efficiency and consistency.

       Notice can be provided to class members by United States mail.

118.      On information and belief after reasonable, diligent inquiry by the Plaintiffs,

   Defendant DAVID PAULSON, M.D., Medical Director of the Minnesota

   Department of Corrections, is superior to Defendant NANETTE LARSON,

   Minnesota Department of Corrections Director of Health Services.

          E. EXHAUSTION OF ADMINISTRATIVE REMEDIES

119.      Defendant DAVID PAULSON has (a) actual notice of Plaintiff LIGONS’

   and MICHAELSON’s requests for the one Sovaldi oral pill per day, twelve week

   regimen that the FBOP has adopted as its hepatitis C treatment protocol, (b) actual

   notice of the availability of discounted Sovaldi pills, (c) actual notice of the

   availability of Harvoni and Viekira Pak as alternative medicines to Sovaldi in the

   one oral pill per day, twelve week regimen that eliminates toxic Interferon therapy,

   (d) has continued to condition hepatitis C treatment on completion of chemical


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   dependency first, (e) has actual notice that completion or failure of chemical

   dependency treatment in the Minnesota Department of Corrections system is a

   decision not made by the patient-specific professional judgment of a medical

   doctor, but rather an administrative decision by a non-medical professional, and (f)

   has rejected Plaintiffs LIGONS’ and MICHAELSON’s requests, without chemical

   dependency treatment completion precondition, for the one Sovaldi oral pill per

   day, twelve week regimen that the FBOP has adopted as its hepatitis C treatment

   protocol.

120.     At times relevant to this lawsuit, including calendar years 2014 and 2015,

   Defendant David Paulson, M.D. served as the Medical Director of the Minnesota

   Department of Human Services’ Minnesota Sex Offender Program (MSOP). See

   https://edocs.dhs.state.mn.us/lfserver/Public/DHS-6359-ENG,               Overview

   Organization Chart, 2015, Minnesota Department of Human Services (listing

   Minnesota Sex Offender Program, Medical Director, David Paulson, M.D.,

   651.431.5872.

121.     The Minnesota Department of Human Services established a closed

   formulary, known as the “Program HH Medication Program (ADAP) Formulary”

   for individuals whom the Department of Human Services serves who are suffering

   from HIV, and, amongst others, suffer from the comorbidity of hepatitis C virus

   (HCV). As of 1 December 2014, the formulary included Ledipasvir/Sofosbuvir

   (Harvoni), Sofosbuvir (Sovaldi), and Simeprevir (Olysio) for individuals suffering

   from HIV and hepatitis C, use of which the Department of Human Services may


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   authorize for    prior-authorized “on-label” usage by contacting the Minnesota

   Health Care Program by phone. At all times in which the formulary has existed,

   an individual may request the addition of a new medication to the formulary with

   the signed request of a patient’s pharmacist or medical doctor.                   See

   http://mn.gov/dhs/people-we-serve/adults/health-care/hiv-aids/programs-services/drug-

   formulary.jsp#

122.     At all times relevant to this lawsuit, the state of Minnesota has had access to,

   and the ability to authorize medications within the one pill per day, twelve week

   protocol cure for hepatitis C, specifically, Sovaldi, Harvoni, and Olysio.

123.     At all times relevant to this lawsuit, Defendant Paulson, as Medical Director

   for the for the Minnesota Sex Offender Program of the Minnesota Department of

   Human Services, has had the authority to authorize the use of Sovaldi, Harvoni, or

   Olysio by Minnesota Sex Offender Program patients suffering from hepatitis C.

124.     As Medical Director of the Minnesota Department of Corrections,

   Defendant Paulson, at times relevant to this lawsuit, has had actual knowledge of

   the serious medical needs of Plaintiffs LIGONS and MICHAELSON as hepatitis

   C sufferers.

125.     As Medical Director of the Minnesota Department of Corrections,

   Defendant Paulson, at times relevant to this lawsuit, has had actual knowledge of

   the requests of Plaintiffs LIGONS and MICHAELSON for the life-saving, 1 pill

   per day, twelve week protocol cure of Sovaldi or the alternative Harvoni.

126.     As Health Services Director of the Minnesota Department of Corrections,


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   Defendant Larson, at times relevant to this lawsuit, has had actual knowledge of the

   requests of Plaintiffs LIGONS and MICHAELSON for the life-saving, 1 pill per

   day, twelve week protocol of Sovaldi or the alternative Harvoni.

127.     At times relevant to this lawsuit, Defendant Centurion (through its agents,

   employees, representatives, or medical staff), has had actual knowledge of the

   serious medical needs of Plaintiffs LIGONS and MICHAELSON as hepatitis C

   sufferers, and the respective requests of Plaintiffs LIGONS and MICHAELSON

   for the life-saving, 1 pill per day, twelve week protocol cure of Sovaldi or the

   alternative Harvoni.

128.     At times relevant to this lawsuit, Defendants Larson, Paulson, and Centurion

   (through its agents, employees, representatives, or medical staff), jointly and

   severally, have denied to Plaintiffs LIGONS and MICHAELSON, with deliberate

   indifference to their serious medical needs as hepatitis C sufferers, their requests

   for the life-saving one pill per day, twelve week protocol cure of Sovaldi or the

   alternative Harvoni.

129.     Plaintiffs have exhausted their administrative remedies.

130.     The foregoing averments and assertions of Plaintiffs constitute averments that

   Plaintiffs face imminent danger of serious and continuing physical, medical injury.

                                   CLAIMS

                     CLAIM I:
               TITLE II OF THE ADA
  AGAINST MINNESOTA DEPARTMENT OF CORRECTIONS

131.     Plaintiffs LIGONS, MICHAELSON, and all similarly situated plaintiffs,


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   reallege and reassert each and every claim and averment above and incorporate

   them herein.

132.     Defendant MINNESOTA DEPARTMENT OF CORRECTIONS, by and

   through Defendants ROY, PAULSON, LARSON, QUIRAM, HANSON, and

   DOES A – J in their respective official capacities, discriminated against Plaintiffs

   LIGONS, MICHAELSON, and all similarly situated Plaintiffs, and caused them to

   be excluded from participation in programs and denied access to services in the

   Minnesota Department of Corrections systems, specifically and without limitation

   MCF Stillwater and MCF Faribault, because of their disabilities – hepatitis C – in

   violation of Title II of the Americans with Disabilities Act as Amended.

                                  CLAIM II:

      § 504 OF THE REHABILITATION ACT OF 1973
  AGAINST MINNESOTA DEPARTMENT OF CORRECTIONS

133.     Plaintiffs LIGONS, MICHAELSON, and all similarly situated plaintiffs,

   reallege and reassert each and every claim and averment above and incorporate

   them herein.

134.     Defendant MINNESOTA DEPARTMENT OF CORRECTIONS, a

   federally funded entity, by and through Defendants ROY, PAULSON, LARSON,

   QUIRAM, HANSON, and DOES A – J, in their respective official capacities,

   discriminated against Plaintiffs LIGONS, MICHAELSON, and all similarly

   situated Plaintiffs, and caused them to be excluded from participation in programs

   and denied access to services in the Minnesota Department of Corrections systems,



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     specifically and without limitation MCF Stillwater and MCF Faribault, due to their

     disabilities – hepatitis C – in violation of § 504 of the Rehabilitation Act of 1973, 29

     U.S.C. §§ 791 – 794a.

                                         CLAIM III:

                         § 504 OF THE
         REHABILITATION ACT OF 1973 AGAINST CENTURION
                     OF MINNESOTA, L.L.C.

  135.     Plaintiffs LIGONS, MICHAELSON, and all similarly situated plaintiffs,

     reallege and reassert each and every claim and averment above and incorporate

     them herein.

  136.     Defendant CENTURION, a federally funded entity, by and through

     Defendants QUIRAM, HANSON, and DOES A – J in their respective individual

     and official capacities in the course of their activities as agents or representatives of

     CENTURION, discriminated against Plaintiffs LIGONS, MICHAELSON, and all

     similarly situated Plaintiffs, and caused them to be excluded from participation in

     programs and denied access to services in the Minnesota Department of

     Corrections systems, specifically and without limitation MCF Stillwater and MCF

     Faribault, due to their disabilities – hepatitis C – in violation of § 504 of the

     Rehabilitation Act of 1973, 29 U.S.C. §§ 791 – 794a.

                                     CLAIM IV:

                     DEPRIVATION OF
          U.S. CONST. AMEND. VIII AND XIV RIGHT
   TO BE FREE FROM INFLICTION OF CRUEL AND UNUSUAL
PUNISHMENT, FOR WHICH 42 U.S.C. § 1983 PROVIDES REMEDIES.



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  137.     Plaintiffs LIGONS, MICHAELSON, and all similarly situated plaintiffs,

     reallege and reassert each and every claim and averment above and incorporate

     them herein.

  138.     Defendants THOMAS ROY, COMMISSIONER OF CORRECTIONS,

     DAVID PAULSON, M.D., Medical Director of the Minnesota Department of

     Corrections, NANETTE LARSON, Health Services Director of the Minnesota

     Department of Corrections, D. QUIRAM, M.D., R. HANSON, M.D., AND

     DOES A – J, in their respective official capacities, jointly and severally, have

     enforced the Minnesota Department of Corrections policy that (a) conditions

     treatment of hepatitis C on completion of chemical dependency treatment, and (b)

     contravenes the clearly established hepatitis-C    medical treatment community

     standard of care, with reference to Erickson v. Pardus, 551 U.S. 89, 90, 127 S. Ct.

     2197 (2007), which constitutes a deliberate indifference to the serious medical

     needs of Plaintiffs LIGONS, MICHAELSON, and all similarly situated Plaintiffs

     suffering from hepatitis C, thereby establishing a violation of U.S. Const. amend.

     VIII and XIV, for which 42 U.S.C. § 1983 provides declaratory, equitable,

     mandamus, and legal remedies.

                                    CLAIM V:

                     DEPRIVATION OF
          U.S. CONST. AMEND. VIII AND XIV RIGHT
   TO BE FREE FROM INFLICTION OF CRUEL AND UNUSUAL
PUNISHMENT, FOR WHICH 42 U.S.C. § 1983 PROVIDES REMEDIES.

  139.     Plaintiffs LIGONS, MICHAELSON, and all similarly situated Plaintiffs



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   reallege and reassert each and every claim and averment above.

140.     Defendants     TOM      ROY,     MINNESOTA        COMMISSIONER           OF

   CORRECTIONS, DAVID PAULSON, MD., MINNESOTA DEPARTMENT

   OF CORRECTIONS MEDICAL DIRECTOR, NANETTE LARSON, Director

   of Health Services, Minnesota Department of Corrections, jointly and severally in

   their respective official capacities, have enforced a HCV treatment program based

   on toxic Interferon injections lasting some forty-eight (48) weeks, offered only at

   the Minnesota Correctional Facility at Rush City (MCF Rush City), and with

   serious side effects, for non-medical reasons.

141.     Defendants ROY, PAULSON, LARSON, other MN DOC agents,

   employees, or representatives and CENTURION CORPORATION through

   Centurion care staff, jointly and severally, have continued this policy for non-

   medical reasons, which constitutes deliberate indifference to the serious medical

   needs of the Plaintiffs, while intentionally and deliberately refusing to treat HCV

   patients with the simple twelve-week one-pill-a-day safer and more effective

   prevailing professional community standard of medical care that can be offered at

   any of the nine MN DOC facilities, in violation of Plaintiff’s rights under U.S.

   Const. amend. VIII and XIV to be free from cruel and unusual punishment, for

   which 42 U.S.C. § 1983 provides declaratory, equitable, and legal remedies.

                                  CLAIM VI:

                      DEPRIVATION OF
               MINN. CONST. ART. I, §§ 2, 5, AND 7
              RIGHT TO BE FREE FROM INFLICTION


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      OF CRUEL AND UNUSUAL PUNISHMENT, FOR
WHICH MINN. CONST. ART. I, § 8 PROVIDES LEGAL REMEDIES.

 142.     The foregoing averments and assertions of Plaintiffs constitute averments that

    Plaintiffs face imminent danger of serious and continuing physical, medical injury.

 143.     Plaintiffs LIGONS, MICHAELSON, and all similarly situated plaintiffs,

    reallege and reassert each and every claim and averment above and incorporate

    them herein.

 144.     Defendants THOMAS ROY, COMMISSIONER OF CORRECTIONS,

    DAVID PAULSON, M.D., Medical Director of the Minnesota Department of

    Corrections, NANETTE LARSON, Health Services Director of the Minnesota

    Department of Corrections, D. QUIRAM, M.D., R. HANSON, M.D., AND

    DOES A – J, in their respective official capacities, jointly and severally, have

    enforced the Minnesota Department of Corrections policy that (a) conditions

    treatment of hepatitis C on completion of chemical dependency treatment, and (b)

    contravenes the clearly established hepatitis-C medical treatment community

    standard of care for inmates suffering from hepatitis that the AALSD/ASID, CDC,

    VA and FBOP established as of June 2014, which constitutes a deliberate

    indifference to the serious medical needs of Plaintiffs LIGONS, MICHAELSON,

    and all similarly situated Plaintiffs suffering from hepatitis C, thereby establishing a

    violation of Minn. Const. Art. I, §§ 2, 5, and 7, for which Minn. Const. Art. I, § 8

    provides declaratory, equitable, mandamus, and legal remedies.

 145.     The foregoing averments and assertions of Plaintiffs constitute averments that



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    Plaintiffs face imminent danger of serious and continuing physical, medical injury.

                                   CLAIM VII:

                  DEPRIVATION OF
          MINN. CONST. ART. I, §§ 2, 5, AND 7
         RIGHT TO BE FREE FROM INFLICTION
      OF CRUEL AND UNUSUAL PUNISHMENT, FOR
WHICH MINN. CONST. ART. I, § 8 PROVIDES LEGAL REMEDIES.

 146.     Plaintiffs LIGONS, MICHAELSON, and all similarly situated Plaintiffs

    reallege and reassert each and every claim and averment above.

 147.     Defendants     TOM      ROY,     MINNESOTA         COMMISSIONER            OF

    CORRECTIONS, DAVID PAULSON, MD., MINNESOTA DEPARTMENT

    OF CORRECTIONS MEDICAL DIRECTOR, NANETTE LARSON, Director

    of Health Services, Minnesota Department of Corrections, jointly and severally in

    their respective official capacities, have enforced a HCV treatment program based

    on toxic Interferon injections lasting some forty-eight (48) weeks, offered only at

    the Minnesota Correctional Facility at Rush City (MCF Rush City), and with

    serious side effects, for non-medical reasons.

 148.     Defendants ROY, PAULSON, LARSON, other MN DOC agents,

    employees, or representatives and CENTURION CORPORATION through

    Centurion staff, jointly and severally, have continued this policy for non-medical

    reasons, which constitutes deliberate indifference to the serious medical needs of

    the Plaintiffs, while consciously, willfully, and deliberately refusing to treat HCV

    patients with the simple twelve-week one-pill-a-day safer and more effective

    prevailing professional community standard of medical care that can be offered at


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       any of the nine MN DOC facilities, in violation of Plaintiff’s rights under Minn.

       Const. Art. I, §§ 2, 5, and 7 to be free from cruel and unusual punishment, for

       which Minn. Const. Art. I, § 8 provides declaratory, equitable, and legal remedies.

    149.     The foregoing averments and assertions of Plaintiffs constitute averments that

       Plaintiffs face imminent danger of serious and continuing physical, medical injury.

                                     CLAIM VIII:

                               DEPRIVATION
        of the Clearly Established U.S. Const. amend. VIII and XIV
   Right to Be Free from Cruel and Unusual Punishment By Private Sub-
  Contractors Under Farmer v. Brennan, 511 U.S. 825 (1994), Erickson v.
Pardus, 551 U.S. 89 (2007), & Kahle v. Leonard, 477 F.3d 544 (8th Cir 2007)

    150.     Plaintiffs LIGONS, MICHAELSON, and all similarly situated Plaintiffs

       reallege and reassert each and every claim and averment above.

    151.     Defendant CENTURION, as a matter of non-medical corporate policy or

       custom, has enforced the outdated "Interferon" 48-week HCV treatment-only

       policy, thereby enforcing the deliberate indifference and cruel and unusual

       punishment arising from failure to prescribe up-to-date, safer and more effective

       treatment for HCV, in violation of Plaintiffs’ clearly established right to be free

       from cruel and unusual punishment under U.S. Const. amend. VIII and XIV.

    152.     Medical staff employed by the private sub-contractors to MN DOC,

       Defendants Quiram and Hanson, John and Jane Doe, are aware of the safer and

       more effective standards of care for HCV and denial of treatment with the 12-week

       one-pill-per-day treatment program for non-medical reasons.



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  153.     Failure to prescribe the safer, more effective 12-week oral treatment protocol

     adopted by the BOP is knowing and intentional, which further constitutes

     deliberate indifference to Mr. LIGONS' and Mr. MICHAELSON’S serious

     medical needs, thereby violating their right to be free from cruel and unusual

     punishment as proscribed by U.S. Const. amend. VIII and XIV, for which 42

     U.S.C. § 1983 provides declaratory, equitable, and legal remedies.

  154.     These allegations constitute averments of imminent danger of serious and

     continuing physical, medical injury.

                                    CLAIM IX:

            DEPRIVATION OF EIGHTH AMENDMENT
RIGHT TO BE FREE FROM CRUEL AND UNUSUAL PUNISHMENT
            (Against Defendants Paulson, Larson, Quiram, Hanson,
    and Centurion in Their Joint and Several Respective Individual Capacities).

  155.     Plaintiffs LIGONS, MICHAELSON, and all similarly situated Plaintiffs

     reallege and reassert each and every claim and averment above.

  156.     Defendants    PAULSON,           LARSON,    QUIRAM,        HANSON,      AND

     CENTURION, jointly and severally, through their decisions to deny Plaintiffs

     LIGONS and MICHAELSON the twelve-week, one pill per day regimen that is

     the hepatitis-C medical treatment community standard of care, demonstrate

     deliberate indifference to the serious medical needs of Plaintiffs LIGONS and

     MICHAELSON, and thereby violate their right to be free from cruel and unusual

     punishment under U.S. Const. amend. VIII and XIV, for which 42 U.S.C. § 1983

     provides declaratory, equitable, and legal remedies.


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 157.      Defendants    PAULSON,       LARSON,       QUIRAM,       HANSON,        AND

    CENTURION, jointly and severally, through their decisions to deny Plaintiffs the

    twelve-week, one pill per day regimen that is the hepatitis-C medical treatment

    community standard of care, demonstrate deliberate indifference to the serious

    medical needs of Plaintiffs and thereby violate their right to be free from cruel and

    unusual punishment under U.S. Const. amend. VIII and XIV, for which 42 U.S.C.

    § 1983 provides declaratory, equitable, and legal remedies.

 158.     These allegations constitute averments of imminent danger of serious

    physical, medical injury.

                                   CLAIM X:

         DEPRIVATION OF EIGHTH AMENDMENT
RIGHT TO BE FREE FROM CRUEL AND UNUSUAL PUNISHMENT

 159.     Plaintiffs LIGONS, MICHAELSON, et al, reallege and reincorporate each

    and every claim and averment above and incorporate them below.

 160.     Plaintiffs Roe, Miles, and Stiles assert the same foregoing causes of action

    from the perspective of inmates who were HCV free when entering MN DOC

    incarceration, or who have been cured of HCV, and who spend each day facing

    “imminent danger of serious physical injury” from being exposed to the debilitating

    and potentially fatal virus, HCV, from other inmates that Defendants could

    eradicate in three (3) months and decline to do so, for non-medical reasons.

 161.     All new HCV infections in MN DOC facilities since January 1, 2014 are the

    direct and proximate consequence of the danger knowingly and intentionally



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   created by Defendants’ refusal to adopt the FBOP, CDC and U.S. Public Health

   Service protocols (required by MN DOC Policies §§151.170-171 et seq.).

162.     The joint and several actions of the Defendants in their official and

   individual capacities demonstrate deliberate indifference to the serious medical

   needs of Plaintiffs Roe, Miles, and Stiles to be free from infections by the blood

   borne pathogen of HCV, and thus violates Plaintiffs’ rights under U.S. Const.

   amend. VIII and XIV to be free from cruel and unusual punishment, for which 42

   U.S.C. § 1983 provides declaratory, equitable, and legal remedies.

163.     These allegations constitute averments of imminent danger of serious

   physical, medical injury.

                                 CLAIM XI:

  DENIAL OF EQUAL PROTECTION OF THE LAW UNDER
U.S. CONST. AMEND. V AND XIV, THROUGH 42 U.S.C. § 1983

164.     Plaintiffs LIGONS, MICHAELSON, et al, reallege and reincorporate each

   and every claim and averment above and incorporate them below.

165.     Both HCV and HIV/AIDS are blood-borne viral diseases.

166.     Both diseases are transmitted by personal contact between individuals

167.     Preventive vaccines for HIV/AIDS and HCV do not exist at this time.

168.     The HIV/AIDS and HCV viruses can be suppressed to reduce or prevent

   transmission of the viruses, but only HCV can be cured in 12-weeks of oral

   medication.

169.     MN DOC screens for and treats HIV/AIDS in a manner that differs



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   significantly from HCV, without medical justification or rational basis for doing so.

170.     MN DOC withholds treatment for HCV in a manner that differs significantly

   from the treatment it provides for HIV/AIDS without medical justification, or a

   rational basis for doing so since the 12-week standard-of-care has been adopted.

171.     MN DOC protocols require that HCV infections progress to the point of

   causing cirrhosis or scarring of the liver, which cannot be reversed.

172.     This HCV policy is akin to a policy that permits HIV infection to become

   full-blown AIDS, or to manifest life-threatening conditions including pneumonia or

   Kaposi’s Sarcoma, before approving anti-retroviral drug treatments,

173.     MN DOC treats inmates for HIV infection upon a positive test for HIV, and

   does not wait for acute conditions or life-threatening illnesses manifest by full-

   blown AIDS.

174.     The MN DOC policy of differential treatment for HCV, in comparison to

   HIV infection, lacks rational basis under prevailing science and medicine, and

   clearly established law.

175.     The MN DOC policy of refusal to treat HCV infection of inmates until

   manifesting in liver fibrosis, liver scarring, cirrhosis of the liver, or liver cancer lacks

   rational basis in violation of Plaintiffs’ rights to equal protection of the laws under

   U.S. Const. amend. V and XIV, for which 42 U.S.C. § 1983 provides declaratory,

   equitable, and legal remedies.

176.     These allegations constitute averments of imminent danger of serious

   physical, medical injury.


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                                    CLAIM XII:

  DENIAL OF EQUAL PROTECTION OF THE LAW UNDER
U.S. CONST. AMEND. V AND XIV, THROUGH 42 U.S.C. § 1983


177.     Plaintiffs LIGONS, MICHAELSON, et al, reallege and reincorporate each

   and every claim and averment above and incorporate them below.

178.     MN DOC protocols require that HCV infections progress to the point of

   causing cirrhosis or scarring of the liver when the FDA-designated HCV

   “breakthrough” drugs are equally effective for patients at all levels of viral

   infections.

179.     AASLD/ASID, CDC, VA, U.S. Public Health Service and the FBOP June

   2014 protocol do not differentiate between HCV patients with respect to viral load,

   or those who have tested positive for HCV without fibrosis, cirrhosis, or liver

   cancer, or those who have fibrosis, cirrhosis, or liver cancer.

180.     The MN DOC policy of differential treatment for HCV patients, waiting to

   treat HCV sufferers when they reach a set viral load, or manifest liver fibrosis, liver

   scarring, cirrhosis of the liver, or liver cancer, lacks rational basis under prevailing

   science and medicine, and clearly established law.

181.     The MN DOC policy of refusal to treat HCV infection of inmates until

   manifesting in liver fibrosis, liver scarring, cirrhosis of the liver, or liver cancer lacks

   rational basis in violation of Plaintiffs’ rights to equal protection of the laws under

   U.S. Const. amend. V and XIV, for which 42 U.S.C. § 1983 provides declaratory,


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   equitable, and legal remedies.

182.     These allegations constitute averments of imminent danger of serious

   physical, medical injury.

                                    CLAIM XIII

             DENIAL OF EQUAL PROTECTION
          OF THE LAW AND CRUEL AND UNUSUAL
        PUNISHMENT IN DELIBERATE INDIFFERENCE
      TO THE SERIOUS MEDICAL NEEDS OF PLAINTIFFS,
   IN VIOLATION OF U.S. CONST. AMEND V, VIII, AND XIV,
          PROTECTED THROUGH 42 U.S.C. § 1983.

183.     Plaintiffs LIGONS, MICHAELSON, et al, reallege and reincorporate each

   and every claim and averment above and incorporate them below.

184.     MN DOC protocols require that HCV infections progress to the point of

   causing cirrhosis or scarring of the liver when the FDA-designated HCV

   “breakthrough” drugs are equally effective for patients at all levels of viral

   infections.

185.     AASLD/ASID, CDC, VA, U.S. Public Health Service and the FBOP June

   2014 protocol do not differentiate between HCV patients with respect to viral load,

   or those who have tested positive for HCV without fibrosis, cirrhosis, or liver

   cancer, or those who have fibrosis, cirrhosis, or liver cancer.

186.     The State of Minnesota Department of Human Services (MDHS) authorizes

   use of the one pill per day, twelve week protocol cure of Sovaldi or Harvoni to

   MDHS patients and clients who suffer the comorbidities of HIV and HCV,

   without requiring as a precondition chemical dependency treatment, a set viral



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   load, or manifest liver fibrosis, liver scarring, cirrhosis of the liver, or liver cancer.

187.     The MN DOC policy of differential treatment for HCV patients, waiting to

   treat HCV sufferers when they reach a set viral load, or manifest liver fibrosis, liver

   scarring, cirrhosis of the liver, or liver cancer, lacks rational basis under prevailing

   science and medicine, and manifests deliberate indifference to the serious medical

   needs of Plaintiffs LIGONS and MICHAELSON, and all other similarly situated

   plaintiffs suffering from HCV, in defiance of clearly established law.

188.     The MN DOC policy of refusal to treat HCV infection of inmates until

   manifesting in liver fibrosis, liver scarring, cirrhosis of the liver, or liver cancer lacks

   rational basis in violation of Plaintiffs’ rights to equal protection of the laws under

   U.S. Const. amend. V and XIV, and right to freedom from cruel and unusual

   punishment under U.S. Const. amend. VIII and XIV, for which 42 U.S.C. § 1983

   provides declaratory, equitable, and legal remedies.

189.     These allegations constitute averments of imminent danger of serious

   physical, medical injury.

                                        CLAIM XIV

                      TITLE II OF THE ADA AS AMENDEND

         AGAINST MINNESOTA DEPARTMENT OF CORRECTIONS

190.     Plaintiffs reallege and reassert each and every claim and averment above.

191.     The MINNESOTA DEPARTMENT OF CORRECTIONS, by and

   through Defendants ROY, PAULSON, LARSON, QUIRAM, HANSON,

   DOES A – J in their respective official capacities, and through the actions of the


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   agents,   employees,    representatives,   or   medical    staff   of   CENTURION,

   discriminated against Plaintiffs LIGONS, MICHAELSON, and all similarly

   situated Plaintiffs, and caused them to be excluded from participation in programs

   and denied access to services in the Minnesota Department of Corrections systems,

   specifically and without limitation MCF Stillwater and MCF Faribault, because of

   their disabilities – hepatitis C – in violation of Title II of the Americans with

   Disabilities Act as Amended, more especially in view of the availability of the life-

   saving one pill per day twelve week protocol cure of Sovaldi or Harvoni to patients

   or benefit recipients of the Minnesota Department of Human Services.

192.     These allegations constitute averments of imminent danger of serious

   physical, medical injury.

193.

                                    CLAIM XV

           § 504 OF THE REHABILITATION ACT OF 1973
       AGAINST MINNESOTA DEPARTMENT OF CORRECTIONS
           AND CENTURION, JOINTLY AND SEVERALLY

194.     Plaintiffs reallege and reassert each and every claim and averment above.

195.     The MINNESOTA DEPARTMENT OF CORRECTIONS, by and

   through Defendants ROY, PAULSON, LARSON, QUIRAM, HANSON,

   DOES A – J in their respective official capacities, and Defendant CENTURION,

   through the actions of its agents, employees, representatives, or medical staff, jointly

   and severally, discriminated against Plaintiffs LIGONS, MICHAELSON, and all

   similarly situated Plaintiffs, and caused them to be excluded from participation in


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   federally subsidized programs and denied access to services in the Minnesota

   Department of Corrections systems, specifically and without limitation MCF

   Stillwater and MCF Faribault, because of their disabilities – hepatitis C – in

   violation of § 504 of the Rehabilitation Act of 1973, more especially in view of the

   availability of the life-saving one pill per day twelve week protocol cure of Sovaldi

   or Harvoni to patients or benefit recipients of the Minnesota Department of

   Human Services.

                                    CLAIM XVI

                      U.CONST. AMEND. VIII AND XIV

196.      Plaintiffs LIGONS, MICHAELSON, and all similarly situated Plaintiffs

   reallege and reassert each and every claim and averment above.

197.     Defendants      PAULSON,        LARSON,        QUIRAM,        HANSON,        AND

   CENTURION, jointly and severally, through their (a) decisions to deny Plaintiffs

   LIGONS and MICHAELSON the twelve-week, one pill per day regimen that is

   the hepatitis-C medical treatment community standard of care, (b) their decisions

   to deny lifesaving, curative care of Plaintiffs’ hepatitis C infections for administrative

   convenience by imposition of irrational, not medically based criteria limiting

   lifesaving twelve-week, one pill per day regimen, and (c) their decisions to deny

   lifesaving, curative, one pill per day, twelve week regimen that is the hepatitis C

   medical treatment community standard of care on the basis of cost and not the

   serious medical needs of the plaintiffs and the foreseeable needs of the community

   at large to be protected from exposure to hepatitis-C-infected blood, demonstrate


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   deliberate indifference to the serious medical needs of Plaintiffs LIGONS and

   MICHAELSON, and thereby violate their right to be free from cruel and unusual

   punishment under U.S. Const. amend. VIII and XIV, for which 42 U.S.C. § 1983

   provides declaratory, equitable, and legal remedies.

198.     Defendants     PAULSON,       LARSON,       QUIRAM,        HANSON,       AND

   CENTURION, jointly and severally, through their decisions to deny Plaintiffs the

   twelve-week, one pill per day regimen that is the hepatitis-C medical treatment

   community standard of care, demonstrate deliberate indifference to the serious

   medical needs of Plaintiffs and thereby violate their right to be free from cruel and

   unusual punishment under U.S. Const. amend. VIII and XIV, for which 42 U.S.C.

   § 1983 provides declaratory, equitable, and legal remedies.

199.     These allegations constitute averments of imminent danger of serious

   physical, medical injury.

                                    CLAIM XVII

                § 504 OF THE REHABILITATION ACT OF 1973

        AGAINST MINNESOTA DEPARTMENT OF CORRECTIONS

 AND CENTURION OF MINNESOTA, L.L.C., JOINTLY AND SEVERALLY

200.     Plaintiffs LIGONS, MICHAELSON, and all similarly situated Plaintiffs

   reallege and reassert each and every claim and averment above.

201.     Defendants MINNESOTA DEPARTMENT OF CORRECTIONS AND

   CENTURION, jointly and severally, through their (a) decisions to deny Plaintiffs

   LIGONS and MICHAELSON the twelve-week, one pill per day regimen that is


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   the hepatitis-C medical treatment community standard of care, (b) their decisions

   to deny lifesaving, curative care of Plaintiffs’ hepatitis C infections for administrative

   convenience by imposition of irrational, not medically based criteria limiting

   lifesaving twelve-week, one pill per day regimen, and (c) their decisions to deny

   lifesaving, curative, one pill per day, twelve week regimen that is the hepatitis C

   medical treatment community standard of care on the basis of cost and not the

   serious medical needs of the plaintiffs and the foreseeable needs of the community

   at large to be protected from exposure to hepatitis-C-infected blood, demonstrate

   discriminatory exclusion of plaintiffs from the benefits of federally funded services

   because of their disabilities, in violation of § 504 of the Rehabilitation Act of 1973.

202.     These allegations constitute averments of imminent danger of serious

   physical, medical injury.

                                   CLAIM XVIII

                               TITLE II OF THE ADA

           V. MINNESOTA DEPARTMENT OF CORRECTIONS

203.     Plaintiffs LIGONS, MICHAELSON, and all similarly situated Plaintiffs

   reallege and reassert each and every claim and averment above.

204.     Defendant MINNESOTA DEPARTMENT OF CORRECTIONS through

   the decisions of its agents, employees, representatives, or officers, (a) to deny

   Plaintiffs LIGONS and MICHAELSON the twelve-week, one pill per day regimen

   that is the hepatitis-C medical treatment community standard of care, (b) to deny

   lifesaving, curative care of Plaintiffs’ hepatitis C infections for administrative


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        convenience by imposition of irrational, not medically based criteria limiting

        lifesaving twelve-week, one pill per day regimen, and (c) to deny lifesaving, curative,

        one pill per day, twelve week regimen that is the hepatitis C medical treatment

        community standard of care on the basis of cost and not the serious medical needs

        of the plaintiffs and the foreseeable needs of the community at large to be

        protected from exposure to hepatitis-C-infected blood, demonstrate discriminatory

        exclusion of plaintiffs from the benefits of public services because of their

        disabilities, in violation of Title II of the ADA.

    205.       These allegations constitute averments of imminent danger of serious

        physical, medical injury.

RELIEF DEMANDED

WHEREFORE Plaintiffs LIGONS, MICHAELSON, and all similarly situated Plaintiffs

pray for the following relief:

   1. Judgment against the Defendants, jointly and severally;

   2. Certification of the classes and subclasses of Plaintiffs named above;

   3. For the named Plaintiffs and members of the Plaintiff classes and subclasses,

       Declaratory Judgment that the Defendant MINNESOTA DEPARTMENT OF

       CORRECTIONS hepatitis C policy violates Title II of the Americans with

       Disabilities Act as Amended, § 504 of the Rehabilitation Act of 1973, U.S. Const.

       amend. VIII and XIV through 42 U.S.C. § 1983, and Minn. Const. Art. I, §§ 2, 5,

       and 7, through Minn. Const. Art. I, § 8;

   4. For the named Plaintiffs and members of the Plaintiff classes and subclasses,


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  a. Permanent injunction against the perpetuation of the MN DOC forty-eight week

     hepatitis C treatment protocol using toxic Interferon injections;

  b. Permanent injunction against the perpetuation of the MN DOC hepatitis C

     treatment protocol that conditions hepatitis C treatment on prior completion of

     chemical dependency treatment;

  c. Permanent injunction against the perpetuation of the MN DOC hepatitis C

     treatment protocol that withholds anti-viral medication treatment for inmates

     until the inmate presents evidence of liver fibrosis, liver scarring, cirrhosis of the

     liver, or liver cancer;

  d. Permanent injunction against the perpetuation of the MN DOC hepatitis C

     treatment protocol that does not administer anti-viral hepatitis C medication to

     inmates with twelve or more weeks in MN DOC custody immediately upon a

     positive test for HCV; and

  e. Permanent injunction against any MN DOC policy that does not test inmates

     upon intake for HCV, as MN DOC does for HIV/AIDS;

5. For Plaintiffs LIGONS and MICHAELSON, equitable relief to order the

  immediate commencement of the one pill per day, twelve week hepatitis C

  treatment that uses the medication Sovaldi in accordance with the Federal Bureau

  of Prisons June 2014 hepatitis C treatment protocol – or with other one pill per day

  medications that the Federal Bureau of Prisons, the FDA, the CDC, the Surgeon

  General of the United States Public Health Service has approved for treatment of

  hepatitis C since June 2014, WITHOUT first requiring plaintiffs to undergo


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   chemical dependency treatment;

6. For Plaintiffs ROE, MILES, AND STILES, (a) identification of all MN DOC

   inmates with twelve or more weeks remaining in their sentences who where denied

   hepatitis C treatment since December 2013 with the one pill per day, twelve week

   protocol which the Federal Bureau of Prisons approved in June 2014, (b)

   identification of all MN DOC inmates with twelve or more weeks remaining in their

   sentences who where denied hepatitis C treatment since December 2013 for non-

   completion of chemical dependency treatment, (c) provision of the one pill per day,

   twelve week hepatitis C treatment protocol which the Federal Bureau of Prisons

   approved in June 2014 to all inmates with twelve or more weeks left in their

   sentences who test positive for hepatitis C, (d) screening of all current MN DOC

   inmates for hepatitis C immediately, (e) immediate screening of all newly admitted

   MN DOC inmates for hepatitis C, consistent with the screening protocols for

   HIV/AIDS virus;

7. For Plaintiffs LIGONS and MICHAELSON, an award of appropriate

   compensatory damages against Defendants, jointly and severally, for all claims for

   which compensatory damages are available, in an amount to be determined by jury;

8. For Plaintiffs LIGONS and MICHAELSON, an award of punitive damages against

   the Defendants sued in their respective individual capacities, and CENTURION

   OF MINNESOTA, L.L.C. for claims arising under U.S. Const. amend. VIII and

   XIV, in an amount to be determined at trial by jury;

9. Prejudgment interest;


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   10. Postverdict interest;

   11. Costs and disbursements;

   12. Reasonable attorney fees in accordance with 42 U.S.C. § 1988; and

   13. Such other relief as the court deems just and equitable.

PLAINTIFFS DEMAND JURY TRIAL ON ALL CLAIMS TRIABLE TO THE JURY.

Date: 3 June 2015    Respectfully submitted:

                     PETER J. NICKITAS LAW OFFICE, L.L.C.

                     /s/Peter J. Nickitas

                     ______________________________________
                     Peter J. Nickitas, MN Att’y #212313
                     Attorney for the Plaintiffs
                     431 S. 7th St., Suite 2446
                     P.O. Box 15221
                     Minneapolis, MN 55415-0221
                     612.440.7285 (o)/651.238.3445 (m)/1.888.389.7890 (f)
                     peterjnickitaslawllc@gmail.com

AS AMICUS CURIAE:

                     INTERNATIONAL HUMANITARIAN LAW INSTITUTE
                     /s/Peter J. Nickitas

Date: 3 June 2015    __________________________________________________
                     Peter J. Nickitas, MN Att’y #212313
                     Litigation Director, Int’l Humanitarian Law Institute
                     C. Peter Erlinder, Prof. (Ret.), Founding Director
                     325 Cedar St., Suite 308
                     St. Paul, MN 55101
                     651.340.1271/FAX 651.340.0357/proferlinder@gmail.com
                     IL Att’y #3124291/8th Cir. Adm’n: 11/06/1984
                     Pro bono post-conviction counsel for Ronaldo Ligons,
                     State v. Ligons, 9200218, A06-2371, and A07-0957; and
                     Ligons v. King, 11-1630 (8th Cir. 2011)


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